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           IN THE UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA       :
                               :
              V.               :    18-CR-97
                               :
ROSS ROGGIO                    :
ROGGIO CONSULTING, LLC         :

     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF DEFENDANTS'
            MOTION FOR A BILL OF PARTICULARS

      Defendant was charged via Indictment on March 20, 2018, with Conspiracy

to violate the Arms Export Control Act, 22 U.S.C. § 2778, and related offenses.

The Government filed a Superseding Indictment on February 15, 2022, adding

charges of Conspiracy to Commit Torture and Torture under the Torture Act, 18

U.S.C. § 2340, et seq. Following Defendant’s retention of new counsel, the Court

granted an extension of time to file pretrial motions limited to the Torture charges

added in the Superseding Indictment. Pursuant to that extension, Defendant filed a

Motion for a Bill of Particulars. Following the Government’s response, Defendant

files the instant Reply Brief.

      Defendant has moved for a Bill of Particulars, requesting that the

Government describe with particularity the precise location in and at which

Defendant allegedly committed torture, and provide the specific identities of any

alleged co-conspirators to Count I of the Superseding Indictment.


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        The aforementioned requests are not a fishing expedition or an attempt by

the Defense to use the Bill of Particulars as a discovery tool, as suggested by the

Government. The information sought goes directly to the Defendant’s ability to

know and understand the charges against him and to prepare a defense to the same.

The Defendant is seeking the aforementioned information for the very purpose of a

Bill of Particulars, which is “to inform the defendant of the nature of the charges

brought against him, to adequately prepare his defense, to avoid surprise during the

trial and to protect him against a second prosecution for an inadequately described

offense.” United States v. Urban, 404 F.3d 754, 771 (3d Cir. 2005)(quoting

United States v. Addonizio, 451 F.2d 49, 63-64 (3d Cir. 1972)).

   I.      Describe with particularity the precise location in and at which
           Defendant allegedly committed torture.

        As indicated in Defendant’s Brief in Support, here the location of the

incident is a specific element of the offense, and this offense is unlike other

offenses where the location of an incident is otherwise relevant only to jurisdiction

and venue. 18 U.S.C. § 2340A. Specifically, the offense of torture requires that

the act be committed outside of the United States. 18 U.S.C. § 2340A(a). This

refers to acts outside of United States jurisdiction. Whether the acts alleged

occurred on a U.S. Military Base or Installation, a Coalition Military Base or

Installation, or some other type of facility that is owned and/or operated by the



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U.S. Government or Coalition forces, like a Black Operations Site, is material

information that goes directly to an element of the offense.

      The Government has indicated a vague and broad geographic location of the

Kurdistan region of Iraq, on the outskirts of Sulaymaniyah, at a Kurdish military

compound. The Government is in a much better position to specifically identify

that military compound, by name and location, so that the Defense can investigate

and confirm the same, and to determine if the site of the alleged torture was not in

fact within the jurisdiction of the United States, such as on a U.S. Military Base or

Installation, a Coalition Military Base or Installation, or some other type of facility

that is owned and/or operated by the U.S. Government or Coalition forces, like a

Black Operations Site.

      The Government’s argument and citations to United States v. Curtis, No.

3:17-CR-0007, 2020 WL 3898983, at 7* (M.D. Pa. July 10, 2020) (Mariani, J.) and

United States v. Jones, 447 F. App’x 319, 323 (3d Cir. 2011), are inapposite

herein, as neither case dealt with a crime where the location of the offense, was a

specific element of the offense. Here the Government must specifically prove that

the alleged torture took place “outside of the United States”. 18 U.S.C. § 2340A(a).

      As to the Government’s argument that the United States, for purposes of the

relevant statute, means “the several States of the Unites States, the District of

Columbia, and the commonwealths, territories, and possessions of the United


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States” per 18 U.S.C. § 2340(3), and that this definition is clear enough to end the

inquiry and place the Defendant on sufficient notice, it does not account for the

term “possessions” of the United States and what the potential meaning of that

term could result in for purposes of the torture statute’s application. The vague and

broad geographic location, that the Government provided, for the alleged torture

site, may very well encompass “possessions” of the United States, such as a U.S.

Military Base or Installation, a Coalition Military Base or Installation, or some

other type of facility that is owned and/or operated by the U.S. Government or

Coalition forces, like a Black Operations Site.

      The Government’s contention that the “special maritime and territorial

jurisdiction of the United States”, which in some instances covers U.S. diplomatic

and military facilities located in foreign countries, should not be conflated with the

statute’s definition of “United States”, does not have support in any controlling

statutory authority or case law, that the Defense is aware of, and no such authority

has been cited by the Government. In 18 U.S.C. § 7(9), the term “special maritime

and territorial jurisdiction of the United States”, as used in this title, includes:

             (9)With respect to offenses committed by or against a national of
             the United States as that term is used in section 101 of
             the Immigration and Nationality Act—

             (A)the premises of United States diplomatic, consular, military or
                other United States Government missions or entities in foreign
                States, including the buildings, parts of buildings, and land


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                   appurtenant or ancillary thereto or used for purposes of those
                   missions or entities, irrespective of ownership; and

               (B) residences in foreign States and the land appurtenant or ancillary
                   thereto, irrespective of ownership, used for purposes of those
                   missions or entities or used by United States personnel assigned to
                   those missions or entities.

         As a result of the potential for the “special maritime and territorial

jurisdiction of the United States,” to be applicable to the definition of the “United

States” in the torture statute, this Honorable Court should Order the Government to

produce a Bill of Particulars with specificity of location of the alleged torture site.

   II.      State the identities of any alleged co-conspirators to Count I of the
            Superseding Indictment.

         As indicated in Defendant’s Brief in Support, the identity of co-conspirators

goes directly to one of the elements of the offense. Specifically, the torture statute

requires that Defendant acted under color of law. 18 U.S.C. §§ 2340, 2340A(a). It

should be undisputed that Defendant is not a state actor. Defendant is not a

member of the Kurdish Government or any branch of that Government. He was

not a state actor. The only way the Government can establish he acted under color

of law is by his relationships with such individuals – hence, the conspiracy charge.

         The identity of the so called “Kurdish soldiers” is a necessary prerequisite to

the Defendant’s ability to prepare a defense to the color of law element of the

torture charge and the agreement element of the conspiracy charge. The

Government alleges that:
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              “the soldiers wore military uniforms, were armed with military
              weapons, and were part of a military force, that also conducted
              military operations. The torture took place on a securely guarded
              Kurdish military compound on which soldiers lived and worked.”

      However, this description could also identify United States Military

Personnel, Coalition forces, and/or U.S. Intelligence Officers or Contractors. The

allegation that the same occurred on a “securely guarded Kurdish military

compound” falls flat without the information requested in Section I above, to

establish the specific location of the torture site.

      This instant case is again different from the run of the mill conspiracy

charge, as the torture charge carries as an element of the offense that the

Government prove that the Defendant acted under color of law. Therefore, this

Honorable Court should Order the Government to produce a Bill of Particulars

with the identities of any alleged co-conspirators to Count I of the Superseding

Indictment.

                                                Respectfully Submitted

                                                Shrive Law, LLC

                                                Jason A. Shrive
                                                ___________________________
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